                  Case 3:18-mj-01535-DEA                                       Document 159                               Filed 10/25/18                           Page 1 of 1 PageID: 324
 CJA 2.0 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07 /17)
 I. CIR./DIST./ DIV. CODE
  NJX0312
                                               12: PERSON REPRESENTED
                                                JUBRI WEST
                                                                                                                                     (' n
                                                                                                                                      _v,
                                                                                                                                                          I
                                                                                                                                                          VOUCHER NUMBER

                                                          4. DIST. DKT./DEF. NUMBER                                5. APPEALS DKT./DEF. NUMBER                                     6. OTHER DKT. NUMBER

 7. IN CASE/MATTER OF (Case Name)         8. PAYMENTCATEGORY                                9. TYPEPERSONREPRESENTED                          10. REPRESENTATIONTYPE
                                          Iii' Felony               D Petty Offense          Iii' Adult Defendant         D Appellant              (See Instructions)
   USA V. TAYLOR                          D Misdemeanor             D Other                 D Juvenile Defendant D Appellee                   CC
                                          D Aooeal                                           D Other
 11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to jive) major offenses charged, according to severity of offense.
  21 United States Code, Sections 841(a)(1) and (b)(1)(A) & 21 Un.ited States Code, Section 846.

     AND MAILING ADDRESS
                            -al-a
                                                              £sq
 12. ATTORNEY'S NAME (First Name, M.I., Last Name, including any suffix),

                 - ) I />10116:\H
                                                                                                                    U. COURT ORDER
                                                                                                                    ~ 0 Appointing Counsel
                                                                                                                     b F Subs For Federal Defender
                                                                                                                                                                                   D C Co-Counsel

                Allff\0'1\1
                       ,J_
                                  f
                                      ('.
                                                                         ·                                           D P         Subs For Panel Attorney
                                                                                                                                                                                   D R Subs For Retained Attorney
                                                                                                                                                                                   D Y Standby Counsel
                 ,o Gox Is-,~
                         •n
                 il.:~J....La Qi'~            AW-                   fl
                                                                                                                   Prior Attorney's

                m            IJ ll.J,,1       /VJ       u J ;-v /' 0 4"3 JQo ()                                           Appointment Dates: - - - - - - - - ~ - . . , . . , , . - - , - -
                                                                                                                     D Because the above-named person represented has testified under oath or has citherwis.e
           Telephon     umber:                                               vOL - I -
                                                              ( 7 ~ satisfied this Court that he or she (I) is financially unable to employ counsel and (2) doe_s
1 - - - - - . - - - - - - - - - - - - - - - - - - - - - - - - - - - 1 not wish to waive counsel, and because the interests of justice so require, the attorney whose
 14. NAME AND MAILING ADDRESS OF L.AW FIRM (On.Ly provide per instructions)                                        name appears in Item 12 is a p p o represent
                                                                                                                                                      i n ~ tthis
                                                                                                                                                                o person in this case, OR
                                                                                                                    D Other (See Instructions)
                                                                                                                                                                                          '/h,t,L_
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                                                                                                                                         lQ.     rfi           , r r ~ J u d ' o 'Order.~:?:~ ourt               7
                                                                                                                                   ~ate of drder        ..                        \....J
                                                                                                                                                                               Nuric.ProtTunc Date
                                                                                                                   Repayment or partial repayment ordered from the person represented for this service at tiD).e
                                                                                                                   appointment.        D YES D NO


                                                                                                                                 TOTAL                        MATH!fECH.             MATH!fECH.
                                                                                              HOURS                                                                                                                  ADDITIONAL
            CATEGORIES (Attach itemization of services with dates)                                                              AMOUNT                         ADJUSTED               ADJUSTED
                                                                                             CLAIMED                                                                                                                   REVIEW
                                                                                                                                CLAIMED                         HOURS                 AMOUNT
 15.        a. Arraiimmerit and/or Plea                                                                                   10
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t---+'-RA::..t.E_P._E_R•.H~O~UR~=~S:;.;.....,....,..._____)___                                                                                                        0.00                           0.00
 16.        a. Interviews and Conferences                                                                                 ~                                                         ' '     .   A   ,}6:00:1
   t: b. bbtmnimz and reviewimz records                                                                                   ,11.\ilr~1if!lc1!:0Jfo::Oo,1'
   §: c. Legal research and briefwriting                                                                                                                                          >ti=~Tl~:~
       .
   ~ d. Travel time
   ;; e. Investigative and other work &nectfv on.additional sheets/
   O IRATEPERHOUR=S                                             )    TOTALS:                                  0.00
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 17.        Travel Exnenses (lodf!inf!, oarkihf!, meals, mi/eaf!e, etc.I            ''"'"'"''';,,."'" .,,   '·'"'""'",,
 18.                                       II~;;n::,;Js:f'f,,:.,·, '""""'' :";
            Other Exoenses (other than exoert, transcriots, etc.I
GRX'Nn;mom~"icOOMEn:'ANt5'!:A.DJUSTitDY:;f 4?,!JJ<•fj:;;,;.;.:\:,i,,,;,ft{:                                                                  0.00                     .,     i:                      0.00
 19. CERTIFICATION OF ATTORNEY/PA YEE FOR THE PERIOD OF SERVICE                                                            20. APPOINTMENT TERMINATION DATE                                         21. CASEDISPOSITION
                                                                                                                               IF OTHER THAN CASE COMPLETION
           FROM.:.                                            TO:
22. CLAlMStA'tDS                                                                                                                                                D Supplemental Payment
           Have you previously applie)I to the cqlirt for compensation and/or reimbursement for th.is case? D YES D NO            If yes, we.re you paid?   D YES D NO
           Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in ccmnection with this
           representation? D YES          D NO             If yes, give details o.n additioha.l sheets.
           I swear or affirm the truth or correctness of the above statements.
           Signature of Attorney                                                                                                                                    bate

"'E~t~~l/:fr;j[l:~:iJl:1tJtU,ill~ilt}i,,11,;,;;,1;j~@t:ft;ifml:%!~RROY;ED:;poirPIYMENT1~COURT0UsE:oNLY'.'.'i''Sj;'i\''mlJllR1rfi':lll&l"~[&'i~l%~1IJJ(i/!lffiil0£\;;i;
23. INCOURTCOMP.                              124. OUTOFCOURTCOMP.125. TRAVELEXPENSES                                           26. OTHEREXPENSES                                  27. TOTALMIT.APPR./CERT.
                                                                                                                                                                                   $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                            DATE.                                              28a.. JUDGE CODE


29. n.fcdURT COMP.                        -   130.- OUT 6if COURT COMP'. 131. TRAVEL EXPENSES                                   32. OTHER EXPENSES                                 33. TOTAL AMT. APPROVED
                                                                                                                                                                                   $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                                   DATE                                               34a. JUDGE CODE
    in excess of the statutory threshold amount.
